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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


In re:                                                                    Chapter 11

AMYRIS, INC., et al.,                                                     Case No. 23-11131 (TMH)

                                      Debtors.1                           (Jointly Administered)

                                                                          Re Docket No. 317

   CERTIFICATION OF COUNSEL REGARDING DEBTORS’ MOTION FOR AN
   ORDER (A) APPROVING PROCEDURES RELATED TO THE ASSUMPTION,
ASSUMPTION AND ASSIGNMENT, OR TRANSFER OF EXECUTORY CONTRACTS
      AND UNEXPIRED LEASES; AND (B) GRANTING RELATED RELIEF

            The undersigned hereby certifies that:

            On September 26, 2023, the above-captioned debtors and debtors-in-possession

(collectively, the “Debtors”) filed the Motion for an Order (A) Approving Procedures Related to

the Assumption, Assumption and Assignment, or Transfer of Executory Contracts and Unexpired

Leases; and (B) Granting Related Relief [Docket No. 317] (the “Motion”).

            Pursuant to the Motion, objections to entry of an order granting the Motion were due no

later than October 11, 2023, at 4:00 p.m. Eastern Time (the “Objection Deadline”).

            The Debtors received informal responses from the Official Committee of Unsecured

Creditors (the “Committee”). No party filed an answer, objection, or other responsive pleading to

the Motion on the Court’s docket.

            Attached hereto as Exhibit A is a revised proposed form of order approving the Motion

which incorporates the comments of the Committee (the “Proposed Order”).



1      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
       claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc. principal place
       of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
       Emeryville, CA 94608.

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         A blacklined copy of the Proposed Order is attached hereto as Exhibit B, showing changes

from the Order submitted with the Motion.

         Accordingly, the Debtors request that the Proposed Order attached hereto as Exhibit A be

entered at the Court’s earliest convenience.

 Dated: October 12, 2023                         PACHULSKI STANG ZIEHL & JONES LLP

                                                 /s/ James E. O’Neill
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                                                 Counsel to the Debtors and Debtors in Possession




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